       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 1 of 8



 1   Elizabeth J. Cabraser
     ecabraser@lchb.com
 2   LIEFF CABRASER HEIMANN &
     BERNSTEIN, LLP
 3   275 Battery Street, 29th Floor
     San Francisco, CA 94111-3339
 4   Telephone: (415) 956-1000
     Facsimile: (415) 956-1111
 5
     Plaintiffs’ Lead Counsel
 6

 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10

11   IN RE: MCKINSEY & CO., INC.               Case No. 21-md-02996-CRB (SK)
     NATIONAL PRESCRIPTION OPIATE
12   CONSULTANT LITIGATION                     JOINT STATUS REPORT
13                                             Judge: The Honorable Charles R. Breyer
     This Document Relates to:
14
     ALL ACTIONS
15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                       JOINT STATUS REPORT
                                                                Case No. 21-MD-02996-CRB (SK)
     3005459.7
          Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 2 of 8



 1               Plaintiffs’ Lead Counsel and counsel for the McKinsey Defendants respectfully submit

 2   this Joint Status Report as ordered by the Court on May 16, 2024 (ECF No. 711). In addition to

 3   the Court’s requested updates regarding the Political Subdivision and School District actions,

 4   Plaintiffs’ Lead Counsel includes additional updates on the finalization of the Tribes’ settlement;

 5   the administration of the Court-approved Subdivisions and School Districts class settlements; the

 6   progress of the Third Party Payor (“TPP”) class settlement; three personal injury/wrongful death

 7   cases (including the two pro se case noted in the Court’s Order on Motions to Intervene (ECF No.

 8   686); and matters regarding the NAS Plaintiffs, following the Court’s recent Order Granting in

 9   Part and Denying in Part McKinsey’s Motion to Dismiss the NAS Plaintiffs’ Amended

10   Complaint (ECF No. 710).

11   I.          Political Subdivisions
12               A.     Report on Political Subdivision Opt-Outs
13               Since the Parties submitted their April 10, 2024 Joint Status Report (ECF No. 703), and

14   consistent with the agreement set forth in that report, two additional political subdivisions from

15   Kentucky (the City of Bowling Green and the City of Georgetown) timely rescinded their opt-out

16   notices. In total, 77 Political Subdivision Plaintiffs timely opted out of the Political Subdivision

17   Settlement, which this Court approved on February 2, 2024 (ECF No. 665). The 77 opt outs are

18   0.23% of the approximately 33,000 subdivisions nationwide that received notice, reflecting a total

19   participation rate of approximately 99.77% for the class.

20               Exhibit C to the April 10 Status Report sets forth the six Political Subdivision Actions

21   remaining in this MDL. That list has not changed as there are still opt-out plaintiffs remaining in

22   all six actions. Those six actions are discussed further below in section III.A.

23               B.     Political Subdivisions Settlement Administration and Distribution
24               Now that the number of opt-out entities is finalized, the Settlement Administrator,

25   BrownGreer, is processing the subdivision payment distributions based on the plan of allocation,

26   which tracks the allocation agreements reached between the states and their subdivisions as to the

27   portion of each state’s share under the 2021 Janssen Settlement. A Political Subdivision is eligible

28   to receive payment if it has a population over 10,000, if it is litigating against McKinsey, or if it

                                                                                      JOINT STATUS REPORT
                                                                               Case No. 21-MD-02996-CRB (SK)
     3005459.7
       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 3 of 8



 1   received a payment in the Janssen Settlement. BrownGreer is incorporating the final opt-out list

 2   into the payment calculations. Class Counsel expects that payments will begin as early as mid-

 3   July 2024.

 4   II.         School Districts
 5               A.     Report on School District Opt-Outs
 6               Since the April 10 Status Report, one additional school district in West Virginia (Mineral

 7   County) rescinded its opt-out notice. Apart from this school district, the list of opt-outs provided

 8   in Exhibit B to the April 10 Status Report remains the same. In total, nine School District

 9   Plaintiffs timely opted out of the School District Settlement, which this Court approved on

10   February 2, 2024 (ECF No. 664). The nine opt-outs are 0.062% of the approximately 14,600

11   School District class, reflecting a settlement participation rate of approximately 99.9%.

12               B.     Status of the Public School District Opioid Recovery Trust
13               On February 2, 2024, the Court approved Truist Bank and Dr. Andres Alonso as Trustees

14   for the school district grant-making Trust. Pursuant to the Court-approved settlement, the net

15   settlement fund in this matter has been deposited with the Trustee Bank. The McKinsey net

16   settlement funds, as well as the net settlement funds from school district recoveries in the

17   Mallinckrodt and Endo bankruptcies, will be administered in the same Trust with the same

18   Trustees. After completing a search and receiving multiple bids, Dr. Alonso selected EAG to

19   create an interactive website and to assist him with the grant-making Trust. Dr. Alonso expects to

20   have the interactive grant-making trust website established by mid-June 2024. He further expects

21   to commence communications with school districts nationwide to inform them about the grant-

22   making trust by mid-June. Class Counsel intend to file quarterly status reports with this Court

23   following the launch of the website.

24   III.        The Parties’ Positions Regarding Further Proceedings
25               A.     Political Subdivision Opt-Out Actions
26               The six Subdivision Actions remaining in the MDL are from four states: Illinois,

27   Kentucky, Michigan, and New York.

28

                                                                                     JOINT STATUS REPORT
                                                                              Case No. 21-MD-02996-CRB (SK)
     3005459.7
       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 4 of 8



 1                      1.      Plaintiffs’ Lead Counsel’s Report on Remand Motions

 2               Remand of New York cases. The parties previously shared their views regarding the

 3   appropriate sequencing for the New York subdivision opt-out cases in the April 10 Status Report:

 4   Plaintiffs believe the Court should first decide the remand motions.

 5               Remand of Illinois cases. Two Illinois subdivision opt-outs (St. Clair County and

 6   Madison County) filed a motion for remand to state court in the Southern District of Illinois,

 7   which was fully briefed and argued prior to the transfer and centralization of these counties’ cases

 8   in this MDL. Their counsel’s preference is for their actions to be remanded to the Southern

 9   District of Illinois so that court can rule on the remand motion.

10               Release/Res Judicata motion. Regarding the adjudication of the Release/Res Judicata

11   motion, Plaintiffs’ Lead Counsel submits that supplemental briefing would be appropriate,

12   focusing on the state law of the remaining, non-remanded litigating entities (presently including

13   Kentucky, Illinois, Michigan, and New York), should any of the parties to the opt-out cases

14   request it.

15                      2.      McKinsey’s Report on Its Pending Motion to Dismiss

16               McKinsey submits that the next step in all six of the remaining Political Subdivision Opt-

17   out Actions is for the Court to rule on McKinsey’s pending Release/Res Judicata Motion without

18   further briefing.

19               Kentucky and Michigan Actions. There is no dispute that the Court must now at least

20   decide the Release/Res Judicata Motion in two of the remaining Political Subdivision Opt-out

21   Actions, from Kentucky and Michigan, which plaintiffs are not seeking to remand.

22               New York and Illinois Actions. McKinsey previously explained why the Court can and

23   should resolve the pending Release/Res Judicata Motion before determining whether to remand

24   any actions to state court. See ECF No. 693-1. This applies to the four remaining Opt-out

25   Actions in which plaintiffs intend to pursue a remand motion, including the two Genesee and

26

27

28

                                                                                     JOINT STATUS REPORT
                                                                              Case No. 21-MD-02996-CRB (SK)
     3005459.7
         Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 5 of 8



 1   Westchester Opt-out Actions (from New York), and now the two Illinois Political Subdivision

 2   Opt-out Actions. 1

 3               Deciding the Release/Res Judicata Motion before consideration of any remand motions is

 4   especially appropriate now that the Court must at the very least resolve the Release/Res Judicata

 5   Motion in two other remaining Political Subdivision Opt-out Actions (from Kentucky and

 6   Michigan) where plaintiffs are not seeking to remand. Because the Release/Res Judicata Motion

 7   is based on broadly consistent principles of law across all relevant jurisdictions, see ECF Nos.

 8   378, 378-1, it would advance the interests of judicial economy for the Court to resolve the Motion

 9   simultaneously in all remaining opt-out actions, and it would also avoid the unnecessary “expense

10   and delay” of any remand motion. See Snoqualmie Indian Tribe v. Washington, 8 F.4th 853, 863

11   (9th Cir. 2021) (holding that court may dismiss case on grounds of res judicata prior to

12   establishing subject matter jurisdiction).

13               Release/Res Judicata motion. McKinsey submits that the existing briefing provides a

14   thorough and sufficient basis for the Court to rule on the pending Release/Res Judicata Motion as

15   to the remaining six Political Subdivision Opt-out Actions. 2 At the Court’s request, the parties

16   already submitted comprehensive supplemental briefing “focusing on the state law” applicable to

17   all Political Subdivision Actions, including the laws of all four states relevant to the remaining six

18   Opt-Out Actions here.

19               B.     School District Opt-Out Actions
20               None of the nine opt-out school districts has filed a case against McKinsey for its role in

21   the opioid crisis. None of the nine opt-out school districts has indicated to Class Counsel an

22
     1
23     Plaintiffs’ Lead Counsel and McKinsey were only recently informed by Illinois opt-out
     plaintiffs’ counsel that the Illinois opt-out plaintiffs also seek to pursue remand of their actions to
24   state court, and that their “preference” is to have their actions “transferred to the Southern District
     of Illinois so that the Court can rule on the remand motion.” But the Illinois opt-out plaintiffs
25   have not made any motion for a suggestion of remand to the Southern District of Illinois. And
     even if they had, such a motion would be inappropriate for all the reasons previously stated by
26   McKinsey in its opposition to the New York opt-out plaintiffs’ motion for a suggestion of
     remand. See ECF No. 689.
27   2
       ECF No. 310 (opening brief), 315 (amicus brief), 317 (amicus brief), 345 (opposition brief), 357
28   (reply brief), 378 (supplemental brief), 392 (supplemental brief), 397 (supplemental reply brief),
     398 (supplemental response).

                                                                                      JOINT STATUS REPORT
                                                                               Case No. 21-MD-02996-CRB (SK)
     3005459.7
       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 6 of 8



 1   intent to file a case against McKinsey. Class Counsel does not believe the Court has jurisdiction

 2   over any of the nine opt-out school districts, and Class Counsel does not believe that it would be

 3   appropriate for any res judicata briefing or ruling to occur with respect to any of these nine school

 4   districts.

 5               C.     Personal Injury/Wrongful Death Actions
 6               There are three personal injury/wrongful death cases before the Court: the two pro se

 7   cases discussed in the Court’s Order on Motions to Intervene (ECF No. 686), and Hurley v.

 8   McKinsey & Co., Inc., No. 3:22-cv-03241-CRB. Plaintiffs’ Lead Counsel has been diligently

 9   working to obtain representation for the two pro se plaintiffs and suggests the Court set August

10   30, 2024 as the date by which the plaintiffs in all three of these remaining cases must file

11   complaints or motions for leave to file amended complaints.

12               D.     NAS Plaintiffs
13               Following the Order Granting in Part and Denying in Part McKinsey’s Motion to Dismiss

14   the NAS Plaintiffs’ Amended Complaint (ECF No. 710), the parties agree to meet and confer and

15   to submit for the Court’s consideration, by May 31, 2024, a case management order governing the

16   NAS Plaintiffs’ cases.

17   IV.         TPP Plaintiff Status
18               Following preliminary approval of the TPP Settlement (ECF No. 702), A.B. Data

19   commenced notice to approximately 42,000 TPP Class members. The objection/opt-out deadline

20   is June 1, 2024, and the final approval hearing is set for July 26, 2024. To date, no objection has

21   been filed, and only one opt-out notice has been received.

22   V.          The Tribes Settlement
23               Since the January 17, 2024 distribution to 332 Tribes, see Hr’g Tr. at 16 (ECF No. 667),

24   the settlement administrator has received an additional 22 participation forms from eligible non-

25   litigating Tribes. Distribution of the finalized Tribes settlement continues. The Tribal

26   participation rate compares favorably to the rates of participation in the other Tribal national

27   settlements.

28

                                                                                    JOINT STATUS REPORT
                                                                             Case No. 21-MD-02996-CRB (SK)
     3005459.7
       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 7 of 8



 1   Dated: May 24, 2024                Respectfully submitted,

 2                                      By: /s/ Elizabeth J. Cabraser
                                        Elizabeth J. Cabraser
 3                                      ecabraser@lchb.com
                                        LIEFF CABRASER HEIMANN &
 4                                      BERNSTEIN, LLP
                                        275 Battery Street, 29th Floor
 5                                      San Francisco, CA 94111-3339
                                        Telephone: (415) 956-1000
 6
                                        Plaintiffs’ Lead Counsel
 7

 8                                      GOODWIN PROCTER LLP
                                        By: /s/ Mark David McPherson
 9                                      Mark David McPherson (CA SBN 307951)
                                        mmcpherson@goodwinlaw.com
10                                      The New York Times Building, 620 Eighth Ave.
                                        New York, NY 10018
11                                      Telephone: (212) 813-8869
12
                                        HOGAN LOVELLS US LLP
13                                      James L. Bernard (Admitted Pro Hac Vice)
                                        james.bernard@hoganlovells.com
14                                      David M. Cheifetz (Admitted Pro Hac Vice)
                                        david.cheifetz@hoganlovells.com
15                                      390 Madison Avenue
16                                      New York, NY 10017
                                        Telephone: (212) 918-3000
17
                                        MORRISON & FOERSTER LLP
18                                      Caitlin S. Blythe (CA SBN 265024)
                                        cblythe@mofo.com
19
                                        425 Market Street
20                                      San Francisco, California 94105-2482
                                        Telephone: (415) 268-7000
21
                                        Jessica Kaufman (Admitted Pro Hac Vice)
22                                      jkaufman@mofo.com
                                        250 West 55th Street New York, NY 10019
23                                      Telephone: (212) 468-8000
24
                                        Attorneys for Defendants McKinsey &
25                                      Company, Inc.; McKinsey & Company, Inc.
                                        United States; McKinsey & Company, Inc.
26                                      Washington D.C.; and McKinsey Holdings,
                                        Inc.
27

28

                                                                      JOINT STATUS REPORT
                                                               Case No. 21-MD-02996-CRB (SK)
     3005459.7
       Case 3:21-md-02996-CRB Document 712 Filed 05/24/24 Page 8 of 8



 1                                          FILER’S ATTESTATION

 2
                 Pursuant to General Order No. 45, § X(B), I attest under penalty of perjury that
 3
     concurrence in the filing of the document has been obtained from all the signatories.
 4

 5
      DATED: May 24, 2024                    /s/ Elizabeth J. Cabraser
 6                                           ELIZABETH J. CABRASER
                                             LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                                                     JOINT STATUS REPORT
                                                                              Case No. 21-MD-02996-CRB (SK)
     3005459.7
